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                    UNITED STATES COURT OF APPEALS                       FILED
                           FOR THE NINTH CIRCUIT                          APR 7 2025
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
CHRISTOPHER PSAILA,                             No. 24-2580; No. 24-1433
                                                D.C. No.
             Plaintiff - Appellee,              2:23-cv-07120-MWF-SK
                                                Central District of California,
  v.                                            Los Angeles
AMERICAN EXPRESS                                ORDER
COMPANY and PETER GRIMM,

             Defendants - Appellants,

and

ERIKA GIRARDI, AKA Erika Jayne; et al.,

             Defendants.

       Appellants’ motion for separate oral argument in No. 24-2580, Dkt. 41, is

GRANTED. Both cases, No. 24-2580 and No. 24-1433, are hereby removed from

the June 5, 2025 Pasadena calendar and will be held in abeyance pending issuance

of the mandate in Gopher Media LLC, et al. v. Melone, et al., No. 24-2626.

Submission in both cases is deferred. The Clerk shall administratively close these

dockets pending further order.


                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT
